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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION

LAURIE BROWN; OLUWAKEMI FOSUDO; and
ABIGAIL MUSICK, individually and on behalf of
all others similarly situated,                                                      PLAINTIFFS

V.                                NO. 5:24-CV-05144-TLB

WALMART INC.                                                                        DEFENDANT

                                 NOTICE OF APPEARANCE

       Colt Galloway of the law firm of Mitchell, Williams, Selig, Gates & Woodyard, P.L.L.C.,

hereby enters his appearance as counsel on behalf of Defendant Walmart Inc., and requests that he

receive copies of any and all further notices, pleadings, or correspondence in this matter from this

point forward.

       This 7th day of October, 2024.


                                              Colt D. Galloway (Ark. Bar No. 2016212)
                                              MITCHELL, WILLIAMS, SELIG,
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